Case 2:04-CV-02830-BBD-tmp Document 5 Filed 07/14/05 Page 1 of 2 Page|D 3

IN THE UNITED STATES DISTRIC'I` COURT m D'c'
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL ll* PH w 00

WESTERN DIVISION
me$ M. GOULD
UNITED srATES 01= AMERICA, ) U_g_ glgrtggTM//
Piaintiff, )
)
v. ) cv. No. 04-2830-D/P
)
MICHAEL BROWN, )
)
Defendant. )
)

 

ORDER GRANTING THE GOVERNMENT’S REQUEST
FOR ADDITIONAL TIME TO RESPOND TO DEFENDANT’S § 2255 PETITION

 

Upon motion of the Plaintiff, it appears that the United States Will need additional time to

respond. For good cause shown, it is therefore
ORDERED that the United States shall file a response within forty-five (45) days of

entrance of this order.

      

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nited States District Court

 

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with Ru|e 58 and/or 79(a) FHCP on

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 5 in
case 2:04-CV-02830 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed

 

 

Tcrrcll L. Harris

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Honorablc Bcrnicc Donald
US DISTRICT COURT

